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 AO 247 (02/08) Order Regarding Motion for Sentence Reduction


                                      UNITED STATES DISTRICT COURT
                                                                   forthe                       U.
                                                         Southern District of Georgia                      -       A     c
                                                                                                                   M r

                   United States of America                          )
                                 V.                                  )
                                                                     ) Case No: CR59200029=06.
                 Benjamin LaShawn Cooper
                                                                     ) USM No: 08069-021
Date of Previous Judgment: December 16, 1998                         ) Robert L. Porter, Jr.
(Use Date of Last Amended Judgment if Applicable)                    ) Defendant's Attorney

                   Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)

       Upon motion of         the defendant Ethe Director of the Bureau of Prisons      the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion,
IT IS ORDERED that the motion is:
         DENIED.        GRANTED and the defendant's previously imposed sentence of imprisonment (as reflected in
                    thelast judgment issued) of ________________ months is reduced to ________________________

I. COURT DETERMINATION OF GUIDELINE RANGE (Prior to Any Departures)
Previous Offense Level:          38                              Amended Offense Level:          38
Criminal History Category: Ill                                   Criminal   History Category:   III
Previous Guideline Range: 292 to 365 months                      Amended Guideline Range: 292 to 365 months
                                 plus 60 months                                                   plus 60 months
II.  SENTENCE        RELATIVE     TO  AMENDED      GUfflEL1P'E    RANGE
    The reduced sentence is within the amended guideline range.
R The previous term of imprisonment imposed was less than the guideline range applicable to the defendant at the time
    of sentencing as a result of a departure or Rule 35 reduction, and the reduced sentence is comparably less than the
    amended guideline range.
LII Other (explain):



III. ADDITIONAL COMMENTS

The retroactive amendment is not applicable to this defendant since his offense involved more than 4.5 kilograms of
cocaine base.

Except as provided above, all provisions of the judgment dated December 16, 1998, shall remain in effect.
IT IS SO ORDERED.

OrderDate:          March 12, 2008                                      ___________________________________________
                                                                                          dge's signature




 Effective Date: _______________________                                 Judge, U.S. District Court
                     (if different from order date)                                       Printed name and title
